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                                UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                       )
                                               )
       v.                                      )         CRIMINAL NO. 19-cr-10016-DPW
                                               )
JOQUENTZ CONSTANT                              )


               DEFENDANT’S MOTION FOR A JUDGMENT OF ACQUITTAL

       Defendant Joquentz Constant, by counsel, hereby moves, pursuant to Fed. R. Crim. Pro.
29(a), for a judgment of acquittal on the charge of felon in possession of a firearm on the ground
that the evidence is insufficient to sustain a conviction due to insufficient proof that defendant
possessed the firearm. This motion formalizes the oral motion made at the close of the
government’s case and thereafter renewed.
                                                           Respectfully submitted,
                                                           JOQUENTZ CONSTANT
                                                           By his Attorney,

                                                           /s/ Charles P. McGinty
                                                           Charles P. McGinty
                                                            B.B.O. #333480
                                                            Federal Defender Office
                                                            51 Sleeper Street, 5th Floor
                                                            Boston, MA 02210
                                                            Tel: 617-223-8061

                              CERTIFICATE OF SERVICE

         I hereby certify that this document filed through the ECF system will be sent
 electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
 on January 24, 2020.

                                                            /s/ Charles P. McGinty
                                                            Charles P. McGinty
